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 5
      Attorney for Defendant
 6    JAZIZ CEA
 7                             IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
       UNITED STATES OF AMERICA,                     )       Case №:2:19-CR-126 MCE
10                                                   )
                      Plaintiff,                     )        REPLY IN SUPPORT OF MOTION TO
11                                                   )                 DISMISS COUNT I
              vs.                                    )         (Sixth Amendment/Fed. R. Crim. P. 7)
12                                                   )
       JAZIZ CEA,                                    )                   Date: to be set
13                                                   )                 Time: 10:00 a.m.
                      Defendant.                     )         Judge Hon. Morrison C. England, Jr.
14                                                   )
                                                                       No Interpreter Case
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             Defendant, JAZIZ CEA, by Heather E. Williams, Federal Defender, by Douglas Beevers,
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      Assistant Federal Defender, hereby submits his reply in support of his motion to dismiss. In its
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      opposition, the Government argues that the Motion to dismiss should be treated as a motion for a
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20    bill of particulars. Defense agrees that treating the motion as a bill of particulars would resolve

21    the majority of Defendant’s concerns. The Government’s opposition suggests that the particulars

22    are a surreptitious camera was placed and recorded a minor but the recording failed to result in
23    any child pornography. A bill of particulars including such detail would be sufficient to give
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      notice regarding the substantial step issue.
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             A bill of particulars would not resolve the issue of whether the crime of attempted
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      production of child pornography requires the Government to prove that the defendant attempted
27
28    to produced child pornography and intended that it would be transmitted in interstate commerce
      CEA: Reply in Support of
      Motion to Dismiss Count One                        1
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 1    or as charged here in the indictment attempted to produce child pornography having reason to
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      believe it would be transmitted in interstate commerce. ECF 1. The Government correctly
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      points out that where a defendant is charged with completed production of child pornography the
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      Government must prove knowing production and a lesser mens rea for the jurisdictional
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      elements. United States v. Sheldon, 755 F.3d 1047 (9th Cir. 2014). However, Sheldon did not
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 7    address whether the analysis is different for attempted production which the Government

 8    concedes requires a specific intent for the non-jurisdictional elements. See United States v.
 9    Ramirez- Martinez, 273 F.3d 903, 914 (9th Cir. 2001). Sheldon did hold that no mens rea was
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      required to prove jurisdiction based on where the device was made, but Sheldon did not address
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      CEA’s constitutional argument that the attempt statute would violate the commerce clause if no
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      mens rea was required.
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14           According to the Ninth Circuit model jury instruction 5.3, attempt requires the

15    Government to prove “the defendant intended to [specify elements of the crime charged].
16           5.3 ATTEMPT
17
             First, the defendant intended to [specify elements of crime charged];
18           and Second, the defendant did something that was a substantial step toward
             committing the crime and that strongly corroborated the defendant’s intent to
19           commit the crime. Mere preparation is not a substantial step toward committing
             the crime. To constitute a substantial step, a defendant’s act or actions must
20           unequivocally demonstrate that the crime will take place unless interrupted by
21           independent circumstances. (Emphasis added).

22
      9th Circuit Model instruction 5.3. Since the jury must be instructed that the defendant intended
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      that all the elements of the crime must occur, attempted production of child pornography requires
24
25    that the Government prove that the defendant intended that the jurisdictional elements occur –

26    even though those jurisdictional elements would not have a mens rea for the completed crime.
27
28
      CEA: Reply in Support of
      Motion to Dismiss Count One                      2
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 2
              Defense requests that the Court dismiss Count One, and requests the Court order a bill of
 3
      particulars.
 4
      SUBMITTED: October 25, 2019.
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                                                   HEATHER E. WILLIAMS
 6
                                                   Federal Defender
 7
                                                   /s/ Douglas Beevers________
 8                                                 DOUGLAS BEEVERS
                                                   Assistant Federal Defender
 9                                                 Attorney for Defendant
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      CEA: Reply in Support of
      Motion to Dismiss Count One                     3
